  Case 3:12-cr-00088-DCB-FKB   Document 320   Filed 08/13/14    Page 1 of 1



                IN THE UNITED STATES DISTRICT COURT
             FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                         NORTHERN DIVISION


UNITED STATES OF AMERICA

VS.                                CRIMINAL NO. 3:12-cr-88(DCB)(FKB)

WILLIE EARL CULLEY                                                 DEFENDANT


                                 ORDER

      This cause is before the Court on a Motion to Modify Stay of

Appeal filed by the defendant Willie Earl Culley (docket entry

306).   The defendant’s criminal case is currently on appeal to the

Fifth Circuit Court of Appeals. In the present motion, he requests

this Court “to Stay Opinion the out-comes [sic]          in Case No. 13-

60489, in Court of Appeal for the Fifth Circuit.”              This Court is

without jurisdiction to grant the relief requested.

      Accordingly,

      IT IS HEREBY ORDERED that the Motion to Modify Stay of Appeal

filed by the defendant Willie Earl Culley (docket entry 306) is

DENIED.

      SO ORDERED, this the 13th day of August, 2014.



                                         /s/ David Bramlette
                                         UNITED STATES DISTRICT JUDGE
